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 7 United States of America

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 9                               IN THE UNITED STATES DISTRICT COURT

10                                  EASTERN DISTRICT OF CALIFORNIA

11
     UNITED STATES OF AMERICA,                           CASE NO. 2:11 CR 00096 JAM
12
                                  Plaintiff,             STIPULATION REGARDING EXCLUDABLE
13                                                       TIME PERIODS UNDER SPEEDY TRIAL ACT;
                            v.                           FINDINGS AND ORDER
14
     IRMA GONZALEZ,                                      DATE: September 15, 2015
15                                                       TIME: 9:30 a.m.
                                  Defendant.             COURT: Hon. John A. Mendez
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17
                                                 STIPULATION
18
            1.      By previous order, this matter was set for status on September 15, 2015.
19
            2.      By this stipulation, which was agreed to on or about September 14, 2015, defendant now
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     moves to continue the status conference until January 26, 2016 at 9:15 a.m., and to exclude time
21
     between September 15, 2015, and January 26, 2016 at 9:15 a.m., under Local Code T4.
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            3.      The parties agree and stipulate, and request that the Court find the following:
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                    a)     The government has represented that the discovery associated with this case
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            includes hundreds of pages of written reports, three data-intensive wiretap discs, and dozens of
25
            images. All of this discovery has been either produced directly to counsel and/or made available
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            for inspection and copying.
27
                    b)     Counsel for the defendant desires additional time to consult with his client, review
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            the evidence in discovery, and weigh the possibility of settlement.

      STIPULATION RE: SPEEDY TRIAL ACT;                  1
      [PROPOSED] FINDINGS AND ORDER
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 1                  c)     Counsel for the defendant believes that failure to grant the above-requested

 2          continuance would deny counsel the reasonable time necessary for effective preparation, taking

 3          into account the exercise of due diligence.

 4                  d)     The government does not object to the continuance.

 5                  e)     Based on the above-stated findings, the ends of justice served by continuing the

 6          case as requested outweigh the interest of the public and the defendant in a trial within the

 7          original date prescribed by the Speedy Trial Act.

 8                  f)     For the purpose of computing time under the Speedy Trial Act, 18 U.S.C. § 3161,

 9          et seq., within which trial must commence, the time period of September 15, 2015 to January 26,

10          2016 at 9:15 a.m., inclusive, is deemed excludable pursuant to excluded under 18 U.S.C. sections

11          3161(h)(7)(A) and (B)(iv), corresponding to Local Code T4 (reasonable time for defense counsel

12          to prepare), because it results from a continuance granted by the Court at defendant’s request on

13          the basis of the Court’s finding that the ends of justice served by taking such action outweigh the

14          best interest of the public and the defendant in a speedy trial.

15          4.      Nothing in this stipulation and order shall preclude a finding that other provisions of the

16 Speedy Trial Act dictate that additional time periods are excludable from the period within which a trial

17 must commence.

18          IT IS SO STIPULATED.

19
     Dated: December 4, 2015                                  BENJAMIN B. WAGNER
20                                                            United States Attorney
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                                                              /s/ MICHAEL M. BECKWITH
22                                                            MICHAEL M. BECKWITH
                                                              Assistant United States Attorney
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24

25 Dated: December 4, 2015                                    /s/ Donald Masuda
                                                              Donald Masuda
26
                                                              Counsel for Defendant IRMA GONZALEZ
27

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      STIPULATION RE: SPEEDY TRIAL ACT;                   2
      [PROPOSED] FINDINGS AND ORDER
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 1

 2                                   FINDINGS AND ORDER

 3        IT IS SO FOUND AND ORDERED this 4th day of December, 2015.

 4
                                             /s/ John A. Mendez
 5                                          THE HONORABLE JOHN A. MENDEZ
                                            UNITED STATES DISTRICT COURT JUDGE
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     STIPULATION RE: SPEEDY TRIAL ACT;         3
     [PROPOSED] FINDINGS AND ORDER
